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6
                                 UNITED STATES DISTRICT COURT
7
                                 FOR THE DISTRICT OF COLORADO
8

9

10   UNITED STATES OF AMERICA,                          Case No.: 1:21-cr-00392-RM-001
11                  Plaintiff,
12
     vs.                                                [PROPOSED] ORDER TO PERMIT
                                                        DEFENDANT TO TEMPORARILY VISIT
13
     DANIEL STONEBARGER,                                MEXICO
14
                    Defendant
15

16
                    TO: THE COURT AND CLERK OF THE COURT, ALL PARTIES, AND

17   THEIR ATTORNEYS OF RECORD;

18         ORDER GRANTING DEFENDANT’S MOTION TO TEMPORARILY TRAVEL TO
19
                                    MEXICO

20           This matter, having come before the court on joint stipulation for Defendant’s permission
     to briefly travel to Mexico for the sole purpose of completing already partially attended to dental
21   care needed before incarceration in this case. Mr. Stonebarger, prior to his plea and surrender of
22
     his passport in this case had already made visits to his dentists for these urgent dental procedures
     related to his overall health.
23
            It appearing upon joint stipulation by the Defense and The United States that good cause
24   has been shown that the request should be granted,
25
            IT IS HEREBY ORDERED that Defendant is granted leave to depart the District of
26   Colorado for his scheduled appointments, departing on March 8, 2022 and returning on March
     11, 2022. The travel already arranged travel schedule is as follows:
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     Departing March 8, 2022 from Denver at 5:40am to Yuma, AZ via Phoenix, AZ to cross the
     border at Los Algodones by mid-morning. Mr. Stonebarger will reside at:
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1    California Comfort Suites
     21970 Vicente Guerrero
2
     Los Algodones, BCN, Mexico 21970
3
     And complete his dental work with:
4    Cosmetic & Implant Dentistry Center
     Dr Jose Valenzuela, DDS
5
     1002 2nd Street Los Algodones, BCN, Mexico 21970
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     As to procedures and recovery, Mr. Stonebarger has been instructed by his doctor to schedule his
7    return on the morning of March 11, 2022, where he will reverse his travel and board a flight from
     Yuma, AZ at 9:58am. After connecting again through Phoenix, he will return to Denver at
8
     4:04pm.
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     It is further ordered that The United States will temporarily return Defendant’s United States
10   passport for the purpose of this trip on or before March 7, 2022 and that said document will be
     re-surrendered on or before March 12, 2022.
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            Entered this _______ day of ______________, 2022
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                                                         By _______________________________________
17                                                              Honorable Raymond P. Moore
                                                                United States District Judge
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